           Case 1:18-cv-00378-APM Document 101 Filed 03/29/22 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                  )
 FATMA MAROUF, et al.,                            )
                                                  )
                  Plaintiffs                      )
                                                  )      Civil Action No. 1:18-cv-00378 APM
           v.                                     )
                                                  )
 XAVIER BECERRA, et al.,                          )
                                                  )
                  Defendants.                     )
                                                  )


                    NOTICE OF WITHDRAWAL OF JASON E. CELLIER

          Please take notice that pursuant to Local Rule 83.6(b), Jason E. Cellier hereby withdraws

his appearance as counsel for Defendant United States Conference of Catholic Bishops

(“USCCB”) in the above-captioned case. As of April 1, 2022, Jason E. Cellier will no longer be

with Jones Day. The Clerk is requested to remove counsel from the notification list for this

matter.

          Defendant USCCB has been notified of the withdrawal and submit their electronic

signature pursuant to Local Rule 83.6(b).


                        By: /s/ Michael Moses
                        USCCB
                        DEFENDANT

          Defendant USCCB will continue to be represented by Leon DeJulius, John Goetz, David

Raimer, and Anthony Dick of Jones Day.
      Case 1:18-cv-00378-APM Document 101 Filed 03/29/22 Page 2 of 3




Dated: March 29, 2022                    Respectfully submitted,



                                         /s/ Jason E. Cellier
                                         *Jason E. Cellier (OH ID# 0092493)
                                         JONES DAY
                                         325 John H. McConnell Boulevard,
                                         Suite 600
                                         Columbus, OH 43215
                                         jcellier@jonesday.com
                                         Telephone: (614) 281-3817
                                         Facsimile: (614) 461-4198

                                         Attorney for Defendant United States
                                         Conference of Catholic Bishops

                                         *Admitted pro hac vice




                                   -2-
         Case 1:18-cv-00378-APM Document 101 Filed 03/29/22 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that on March 29, 2022, a true and correct copy of the foregoing Notice

of Withdrawal of Jason E. Cellier as Counsel was filed using the Court’s CM/ECF which will

serve all counsel of record.

                                                      /s/ Jason E. Cellier
                                                      *Jason E. Cellier (OH ID# 0092493)

                                                      *Admitted pro hac vice
